24-11463-pb          Doc 71      Filed 02/04/25 Entered 02/04/25 16:17:01        Main Document
                                              Pg 1 of 28



DAVIDOFF HUTCHER & CITRON LLP                                   Hearing Date: February 18, 2025
120 Bloomingdale Road                                           Hearing Time: 10:00 A.M.
White Plains, New York 10605
(914) 381-7400
Jonathan S. Pasternak
Attorneys for the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
In re:                                                          Chapter 11
MADISON 33 OWNER LLC,                                           Case No.: 1:24-bk-11463 (PB)
                                    Debtor.
------------------------------------------------------------x


              MOTION FOR ORDER (I) AUTHORIZING THE DEBTOR TO
            OBTAIN POST-PETITION FINANCING ON A SENIOR PRIORITY
         BASIS, (II) GRANTING PRIMING LIENS PURSUANT TO SECTION 364(d)
           OF THE BANKRUPTCY CODE AND PROVIDING SUPERPRIORITY
         ADMINISTRATIVE EXPENSE STATUS PURSUANT TO SECTION 364(c)(1)
         OF THE BANKRUPTCY CODE, AND (III) GRANTING RELATED RELIEF

          Madison 33 Owner LLC, as debtor and debtor in possession (the “Debtor”), respectfully

states as follows in support of this motion (the “Motion”) in the above-captioned chapter 11 case

(the “Chapter 11 Case”), pursuant to sections 105, 361, 362, 364(c)(1), 364(c)(2), 362(c)(3),

364(d)(1), 364(e), 503, 506(c) and 507 of title 11 of the United States Code 11 U.S.C. §§ 101, et

seq. (the “Bankruptcy Code”), Rules 2002, 4001, 6004 and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and the Local Bankruptcy Rules for the Southern

District of New York (the “Local Bankruptcy Rules”), seeking entry of an order, among other

things: (1) authorizing the Debtor to obtain post-petition financing (“DIP Priming Financing”) on

a senior priority basis pursuant to a priming senior secured debtor-in-possession term loan in

accordance with and subject to the terms and conditions set forth in the DIP Commitment Letter
24-11463-pb       Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01              Main Document
                                          Pg 2 of 28



(as defined herein) in the aggregate principal amount not to exceed $22,000,000 (the “DIP Priming

Loan”), which shall be made available to the Debtor in accordance with and subject to the terms

of the DIP Commitment Letter and the Budget (as defined herein); (2) authorizing the Debtor to

execute, deliver and perform under the DIP Commitment Letter and all other loan documentation

related to the DIP Priming Loan (collectively, with the DIP Commitment Letter, the “DIP Priming

Documents”); (3) authorizing the Debtor to incur obligations with respect to loans, advances,

extensions of credit, financial accommodations, reimbursement obligations, fees, costs, expenses

and other liabilities, all other obligations due and payable under the DIP Priming Documents

(collectively, the “DIP Obligations”); (4) granting to Castellan Capital LLC or its affiliate as lender

(the “DIP Lender”) both a senior priming mortgage covering the DIP Collateral (as defined below)

set forth herein, plus an allowed super-priority administrative expense claim pursuant to section

364(c)(1) of the Bankruptcy Code in respect of all DIP Obligations; (5) granting to the DIP Lender

valid, enforceable, non-avoidable and automatically perfected liens pursuant to sections 364(d) of

the Bankruptcy Code on the DIP Collateral (as defined below) and all proceeds thereof; (6)

authorizing the Debtor to use proceeds of the DIP Priming Loan solely in accordance with and

subject to the Budget and the DIP Priming Documents; (7) authorizing the Debtor to pay the

principal, interest, fees, expenses and other amounts payable under the DIP Priming Documents

as such become earned, due, and payable to the extent provided in, and in accordance with and

subject to, the DIP Priming Documents; (8) modifying the automatic stay under section 362 of the

Bankruptcy Code to the extent necessary to permit the Debtor to effectuate the terms and

provisions of the DIP Priming Documents; and (9) granting related relief.




                                                  2
    24-11463-pb       Doc 71       Filed 02/04/25 Entered 02/04/25 16:17:01                      Main Document
                                                Pg 3 of 28



                                             RELIEF REQUESTED

          1.       The Debtor seeks entry of an order substantially in the form attached hereto as

Exhibit E (the “DIP Priming Order”), pursuant to sections 362 and 364 of the Bankruptcy Code

and Bankruptcy Rule 4001(c), granting the following relief: 1

      •   DIP Facility: Authorizing the Debtor to obtain post-petition financing (the “DIP Priming
          Loan”) pursuant to a $22,000,000 senior secured, superpriority and priming debtor-in-
          possession term loan credit facility (the “DIP Facility”), subject to the terms of that certain
          Financing Commitment Letter (the “DIP Commitment Letter”) and the Budget (as defined
          herein), in each case substantially in the form attached hereto as Exhibit A;

      •   DIP Priming Liens and Superpriority Claims: Granting the DIP Priming Liens on the DIP
          Collateral to secure the DIP Obligations with the relative priorities set forth in the DIP
          Priming Order, subject to the terms set forth in the DIP Facility; and

      •   Automatic Stay: Modifying the automatic stay under section 362 of the Bankruptcy Code
          (the “Automatic Stay”) to the extent necessary to implement and effectuate the terms and
          conditions of the DIP Priming Order, subject to the terms of the DIP Facility.

          2.       In support of this Motion, the Debtor submits the Declaration of David Goldwasser

in Support of Debtor’s Motion (I) Authorizing the Debtor to Obtain Post-Petition Financing on a

Senior Priority Basis, (II) Granting Priming Liens Pursuant to Section 364(d) of the Bankruptcy

Code and Providing Superpriority Administrative Expense Status Pursuant to Section 364(c)(1) of

the Bankruptcy Code, and (III) Granting Related Relief attached hereto as Exhibit F (the

“Goldwasser Declaration”).

                                        JURISDICTION AND VENUE

          3.       On August 26, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”).




1
      The summaries contained in this Motion are qualified in their entirety by the provisions of the documents
      referenced. To the extent anything in this Motion is inconsistent with such documents, the terms of the applicable
      documents shall control.

                                                           3
24-11463-pb         Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01            Main Document
                                            Pg 4 of 28



       4.         The United States Bankruptcy Court for the Southern District of New York (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the “Standing

Order of Referral of Cases to Bankruptcy Judges” of the District Court, dated July 10, 1984 (Ward,

Acting C.J.). This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). The

Debtor confirms its consent to the entry of a final order by this Court regarding this Motion.

       5.         Venue of this proceeding is proper pursuant to 28 U.S.C. § 1409.

       6.         The statutory predicates for the relief requested herein are Sections 105, 362, 364,

503, and 507 of title 11 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004, and 9014

of the Federal Rules of Bankruptcy Procedure, and Local Bankruptcy Rule 4001.

       7.         No trustee or examiner, and no official committee has been appointed in the

Debtor’s Chapter 11 Case.

                      Concise Statement Pursuant to Bankruptcy Rule 4001
                     Regarding the Terms of the Proposed DIP Priming Loan

       8.         In accordance with Bankruptcy Rules 4001(c) and 4001(d), the following is a

concise statement and summary of the proposed material terms of the DIP Priming Loan as

provided for in the DIP Facility, the DIP Commitment Letter, and the DIP Priming Order:



                                         DIP Facility Terms

 Lender:                           Castellan Capital LLC (the “DIP Lender”)

 Total Loan Amount:                $22,000,000 (the “Maximum Loan Amount”)

 Interest Rate:                    30-day AMERIBOR (AMBOR30T) + 5.12% (currently 9.49%),
                                   with a floor rate of 9.25% adjustable monthly (the “Contract
                                   Rate”). Interest will be paid current on an actual/360 basis and
                                   paid current on a monthly basis. A late fee of 6.0% shall apply to
                                   any payments (inclusive of any escrow payments) received after
                                   the fifth (5th) day of the month.


                                                   4
24-11463-pb        Doc 71   Filed 02/04/25 Entered 02/04/25 16:17:01          Main Document
                                         Pg 5 of 28



Prepayment:                    No prepayment penalty.

Minimum Interest:              No minimum interest period.

Maturity:                      Twenty-four (24) months.

Origination Fee:               3% ($660,000.00) with DIP Lender to pay brokerage.

Application Fee:              $40,000, including the $15,000 pre-paid deposit funded by third
                              parties.
Collateral:                   • First priority “priming” mortgage lien pursuant to 11 U.S.C.
                                  Section 364(d) covering units PHA, PHB, PHC, PHD, PH
                                  Sky, CV-A, CV-B, 11B, 15B, 17B, 18B and 27A at the
                                  above referenced Property, together with all related rights
                                  (the “DIP Collateral”);
                              • Assignment and security interest in all current and future
                                  leases relating to the DIP Collateral;
                              • Assignment of all plans, contracts, approvals, licenses, and
                                  permits;
                              • UCC liens on all personal property, equipment and fixtures
                                  in the DIP Collateral; and
                              • Completion Guarantee for C of O and Condo Book.

Interest Reserve:              At closing, the DIP Lender shall establish an Interest Reserve
                               equal to approximately two million five hundred and nineteen
                               thousand dollars ($2,519,000) to be released. To the extent there
                               is any shortfall, Debtor shall pay the difference in accordance
                               with the terms of the Note.

Construction Reserve:          At closing, the DIP Lender shall establish from the loan proceeds
                               a Construction Reserve account of approximately fourteen
                               million and two hundred thousand dollars ($14,200,000) to be
                               drawn upon for work completed on the DIP Collateral per the
                               approved budget. Debtor shall provide invoices, lien release
                               waivers, and any other requested documentation at DIP Lender’s
                               reasonable discretion under a certified requisition prior to
                               disbursement. Interest shall only be charged on Construction
                               Reserve funds once disbursed.

Other Costs:                   Debtor agrees to reimburse the DIP Lender at Closing for any
                               share of taxes due from DIP Lender for mortgage recording or
                               property transfer, it being understood that the DIP Priming Loan
                               shall be subject to conventional loan documents and recordable
                               mortgage instruments.



                                               5
24-11463-pb        Doc 71    Filed 02/04/25 Entered 02/04/25 16:17:01            Main Document
                                          Pg 6 of 28



                                        BACKGROUND

   A.         The Debtor’s Business

        9.       Formed on July 23, 2013, the Debtor is a domestic limited liability company

organized and existing under the laws of the State of Delaware with an address of 6 Red Oak Lane,

Spring Valley, New York 10977.

        10.      The Debtor is the sponsor and developer of condominium units located at 172

Madison Avenue, New York, New York (the “Property”).

        11.      The Property is a fully constructed 33-story mixed-use luxury high rise

condominium, with 72 units. Only twelve (12) units remain unsold at this time. The unsold units

are fully constructed and include five (5) non-penthouse units (the “Apartment Units”), and (5)

penthouse units (including one “sky house”) in “white box” condition (the “Penthouse Units” and

together with the Apartment Units, the “Residential Units”), and two commercial units (the

“Commercial Units” and together with the Residential Units, the “Pledged Units”). The Debtor

believes the fair market value of the Residential Units is no less than $100,600,000. The Debtor

estimates that it would cost approximately $14,055,847 (including hard and soft costs, related fees,

and expenses) to finish the Penthouse Units before they can be sold at optimum value.

   B.         The Pre-Petition Loan Agreements

        12.      On October 28, 2013, the Debtor acquired the Property through a bankruptcy sale.

The Debtor provided $24,000,000.00 of its own capital in connection with the acquisition. To fund

the rest of the acquisition of the Property and later build out costs, the Debtor and Madison 33

Partners, LLC (the “Owner”) entered into a series of loans with Deutsche Bank, AG (“DB”)

pursuant to that certain loan in the original principal amount of $75,852,054.53 (the “Senior

Loan”), that certain loan in the principal amount of $3,400,000.00 (the “Building Loan”), and that



                                                 6
24-11463-pb       Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01            Main Document
                                          Pg 7 of 28



certain loan in the principal amount of $8,351,444.39 (the “Project Loan” and, collectively, with

the Senior Loan and the Building Loan, referred to herein as the “Pre-Petition Loan Agreements”).

       13.     The Pre-Petition Loan Agreements were collateralized by both the Property and the

Debtor’s member interests in the Owner (the “Prepetition Collateral”). The Debtor’s sole asset is

the Property. The Owner is the sole member of the Debtor.

       14.     In or around August 2014, excavation at the Property commenced, and around April

2015 construction and marketing commenced at the Property with permitting and approvals in

place. The first closing for a unit at the Property occurred on May 19, 2017. To date, 60 units have

been sold for an aggregate total price of $162,578,630, which net proceeds were paid to DB to

reduce the loan obligations down to an estimated $43.5 million.

       15.     Despite the Owner’s continued sales and continued payments to DB, DB declared

a maturity default under the Pre-Petition Loan Agreements on or around February 2022.

Notwithstanding, the Debtor believes DB’s invoking of a default was not made in good faith or

under any standards of fair dealing. During this period, equity holders and unsecured creditors of

the Debtor contributed another estimated $6,499,648.28 in personal funds and capital calls to

continue with its sale and marketing process of the unsold units at the Property, and to date there

has not yet been any return or distributions to equity or unsecured creditors.

       16.     The Owner moved to cure the alleged default immediately and despite its efforts to

negotiate with DB, DB continued to hold the Owner in default. As a result, the Owner halted sales

of the Residential Units until it could resolve the open issues with DB. The Debtor understands

that the Pre-Petition Loan Agreements were assigned by DB to Palm Avenue Hialeah Trust, a

Delaware statutory trust, for and on behalf of and solely with respect to Series 2023-3 (“Palm




                                                 7
24-11463-pb        Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01            Main Document
                                           Pg 8 of 28



Avenue”). Palm Avenue has asserted that $62,624,337.02 is currently outstanding under the Pre-

Petition Loan Agreements.

        17.      Following such assignment, the Debtor engaged in extensive negotiations with

Palm Avenue. Notwithstanding this fact, on April 3, 2024, Palm Avenue scheduled a UCC-1

foreclosure sale of the Debtor’s member interests in the Owner (“Foreclosure Sale”) for June 4,

2024. To preserve the Debtor’s management and ownership interests in the Property, the Debtor

filed its Chapter 11 Case.

        18.      The Debtor is in the process of hiring a broker to sell the Apartment Units which

remain unsold and arranging to complete the Penthouse Units.

   C.         The Debtor’s Urgent Need for the DIP Facility.

        19.      As the Court is aware, the Debtor has no cash on hand or current income to generate

cash to pay for ongoing administrative expenses. Moreover, the Debtor intends to utilize this

Chapter 11 Case to complete and sell the Penthouse Units, market and sell the remaining

Apartment Units, and attempt to reach a settlement with its lenders and other creditors. A copy of

the AIA agreement for completion of the construction of the Penthouse Units is attached as Exhibit

B. A construction budget and timeline are attached as Exhibit C.

        20.      In order to be able to realize the potential maximum value of the Property to repay

all creditors in full, the Debtor believes the Penthouse Units at the Property should be completed

and all remaining Apartment Units should be sold. The Debtor has spent the last few months

obtaining estimates for the completion of the Penthouse Units to occupancy and related sale costs

and expenses. In addition, there are various “soft costs” that will be incurred notwithstanding the

completion of the Penthouse Units and sale of the Apartment Units. These costs include, inter alia,

(a) insurance, (b) utilities, (c) taxes, (d) the Chapter 11 Professionals, (e) condo charges, (f) U.S.



                                                  8
24-11463-pb        Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01          Main Document
                                           Pg 9 of 28



Trustee fees, and (g) other ordinary and necessary expenses to maintain the current condition of

the Property pending the filing of a plan and/or consummation of a sale, refinance, or other

strategic transaction.

        21.      Given the default on its existing Pre-Petition Loan Agreements, it would appear

futile to ask Palm Avenue to make any additional loans to the Debtor. Nonetheless, the Debtor

requested that Palm Avenue enter into a loan with Debtor, and, unsurprisingly, Palm Avenue

refused.

        22.      Accordingly, the Debtor’s only hope to obtain the badly needed financing necessary

to complete the Property is to seek a DIP priming loan from other lenders.

   D.         The DIP Facility

        23.      To that end, the Debtor has obtained a loan commitment (“Loan Commitment”)

from the DIP Lender for a total loan of $22,000,000, which net proceeds therefrom should give

the Debtor sufficient capital to complete the Penthouse Units, commence the sale of the Apartment

Units, and cover all other administrative expenses in the Chapter 11 Case. These funds will also

permit the Debtor to remain current and pay all condo charges and real estate taxes that come due

or are outstanding. The DIP Lender shall distribute the funds under the DIP Priming Loan pursuant

to the budget (the “Budget”) attached hereto as Exhibit A. The Debtor believes that the DIP

Priming Loan will provide sufficient liquidity, on a sufficient timeline, to complete the Penthouse

Units’ construction, market and sell all of the Residential Units, pay the associated costs of the

Chapter 11 Case, and pay all other necessary amounts, including taxes and condo charges, all in

line with the Budget and the construction timeline attached hereto as Exhibit C. The DIP Priming

Loan amounts, and the timeline, also comport with timeframe and amounts required under the AIA

agreement for the construction and completion of the Penthouse Units.



                                                 9
24-11463-pb         Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01              Main Document
                                            Pg 10 of 28



         24.      Accordingly, the Debtor has determined, in its independent business judgement,

that obtaining the DIP Financing from the DIP Lender on the terms and conditions set forth in the

DIP Commitment Letter provides the estate with the best chance to maximize a return to creditors

in the Chapter 11 Case and is therefore in the best interests of creditors, and that absent obtaining

the DIP Priming Loan from the DIP Lender, the Chapter 11 Case is likely to be forced into Chapter

7 and forced liquidation.

         25.      Absent access to the funds available under the DIP Priming Loan, the Debtor will

promptly lack sufficient liquidity to continue its operations. Therefore, the Debtor has an

immediate need to access the DIP Priming Loan.

    E.         Alternative Sources of Financing Are Not Available on Better Terms

         26.      Despite the Debtor’s efforts to identify out of court and post-petition financing over

the past several months, the Debtor has not received any financing proposals that would adequately

fund the chapter 11 process and the completion of the Property.

         27.      Since the Petition Date, the Debtor has spoken with no less than three (3) potential

investors about DIP and out-of-court financing alternatives. Despite the potential for certain out-

of-court alternatives to provide the Debtor with liquidity, the quantum of capital that parties have

been prepared to provide has been insufficient in light of the Debtor’s capital needs and capital

structure.

         28.      In conjunction with outreach to a range of potential post-petition capital providers,

the Debtor concluded that post-petition financing likely would have to be provided on a priming

basis because the Debtor has insufficient unencumbered assets to obtain sufficient postpetition

financing to responsibly prosecute this Chapter 11 Case on a junior secured or unsecured financing

basis.



                                                   10
24-11463-pb       Doc 71      Filed 02/04/25 Entered 02/04/25 16:17:01              Main Document
                                           Pg 11 of 28



       29.     After reviewing financing proposals from other parties that would adequately fund

a chapter 11 process and provide for the construction and completion of the Penthouse Units, the

Debtor has determined that the offer from the DIP Lender presents the necessary financing at the

lowest and best pricing. Goldwasser Declaration ¶ 11. Accordingly, the DIP Priming Loan

represents the best option available to address the Debtor’s liquidity needs and create a pathway

to exit from chapter 11.

                                       BASIS FOR RELIEF

       30.     For the Debtor to obtain the necessary and essential post-petition financing it

requires, the Debtor must obtain authority to enter into the DIP Priming Loan pursuant to Sections

364(c)(2) and 364(d) of the Bankruptcy Code.

       31.     For the reasons set forth above, there is no possibility that any lender would make

post-petition loan advances with simply either an unsecured, junior administrative priority

provided by Section 503(b)(1) of the Bankruptcy Code, or a junior lien provided by Section

364(c)(3) of the Bankruptcy Code. In addition, the Debtor has no unencumbered assets. Therefore,

the DIP Lender requires that, at the very least, it be provided with, to the extent of the post-petition

advances to be made under the DIP Priming Loan, a first priority lien upon the DIP Collateral and

a super priority claim pursuant to Sections 364(c)(1) and 364(d) of the Bankruptcy Code.

       32.     The Debtor submits that the DIP Lender is not willing to make the necessary post-

petition advances absent the granting of protection in the form of Sections 364(c)(1) and 364(d)

super priority claims and first priority security interests as requested herein.

       33.     In the instant case, the DIP Lender is seeking, as security for making post-petition

advances under the DIP Priming Loan, a first priority lien, to the extent of all such post-petition




                                                  11
24-11463-pb        Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01              Main Document
                                           Pg 12 of 28



advances, upon the DIP Collateral pursuant to Section 364(d) of the Bankruptcy Code, and a super

priority claim pursuant to Section 364(c)(1) of the Bankruptcy Code.

        34.      Importantly, the liens to be granted to the DIP Lender shall neither constitute a lien

nor encumber proceeds from recoveries based upon estate causes of action pursuant to Sections

542 through 553 of the Code.

        35.      As set forth above, the Debtor made substantial efforts to secure alternative post-

petition financing on an unsecured, junior secured and/or or other less stringent basis and has been

unable to obtain any lender willing to make such advances on more favorable terms than proposed

herein. In light of all of the foregoing, the Debtor respectfully submits that obtaining the badly

needed DIP Priming Loan under the terms of the DIP Commitment Letter is both necessary and in

the best interests of the Debtor as well as all of the Debtor’s creditors and parties in interest.

   I.         The Debtor Should Be Authorized to Obtain Post-Petition Financing on a Senior
              Secured and Superpriority Basis

        36.      The Debtor meets the requirements for relief under section 364 of the Bankruptcy

Code, which permits a debtor to obtain post-petition financing and, in return, to grant superpriority

administrative status and liens on its property. Specifically, section 364(c) of the Bankruptcy Code

provides that the court may approve financing, “with priority over any or all administrative

expenses. . ..” 11 U.S.C. § 364(c). Further, section 364(d) of the Bankruptcy Code provides that

priming liens may be incurred to support post-petition financing if the debtor is “unable to obtain

such credit otherwise” and the primed lienholders are adequately protected. 11 U.S.C. § 364(d).

        37.      Provided that an agreement to obtain secured credit is consistent with the provisions

of, and policies underlying, the Bankruptcy Code, courts grant considerable deference to a debtor’s

exercise of its business judgment when evaluating their requests to incur post-petition credit. See,

e.g., In re Latam Airlines Grp. S.A., 2020 WL 5506407 at *27 (Bankr. S.D.N.Y. Sept. 10, 2020)


                                                  12
24-11463-pb        Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01            Main Document
                                           Pg 13 of 28



(“Generally, in evaluating the merits of proposed post-petition financing, courts will defer to a

debtor's business judgment provided that the financing does not unduly benefit a party in interest

at the expense of the estate.”); In re Ames Dep’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y.

1990) (deferring to a debtor’s “reasonable business judgment. . . so long as the financing agreement

does not contain terms that leverage the bankruptcy process and powers or its purpose is not so

much to benefit the estate as it is to benefit a party-in interest”).

        38.     In determining whether the Debtor has exercised sound business judgment in

deciding to enter into the DIP Priming Loan, this Court may appropriately take into consideration

non-economic benefits to the Debtor offered by a proposed post-petition facility. For example, in

In re ION Media Networks, Inc., 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009), the

Bankruptcy Court for the Southern District of New York explained that “noneconomic elements

such as the timing and certainty of closing, the impact on creditor constituencies and the likelihood

of a successful reorganization” may be properly considered by debtors when selecting post-petition

financing, because the “business decision to obtain credit from a particular lender is almost never

based purely on economic terms” due to the importance of those terms. Id.

        39.     Here, given all the facts and circumstances present in this Chapter 11 Case, the

Debtor has satisfied the necessary conditions under sections 364(c) and (d) of the Bankruptcy Code

for authority to enter into the DIP Priming Loan. The Debtor exercised proper business judgment

in securing the DIP Priming Loan on terms that are fair and reasonable and the best available to it

under the circumstances and in the current market. Moreover, given the circumstances described

above, the Debtor could not obtain credit on junior secured or unsecured basis or without the

limited priming contemplated by the DIP Priming Order.




                                                   13
24-11463-pb         Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01             Main Document
                                            Pg 14 of 28



         40.      For all the reasons discussed further below, the Debtor respectfully submits that the

Court should grant the Debtor’s request to enter into the DIP Priming Loan pursuant to sections

364(c) and (d) of the Bankruptcy Code.

   II.         The Debtor Exercised Sound and Reasonable Business Judgment in Deciding to
               Enter into the DIP Priming Loan

         41.      Based on the facts and circumstances of this Chapter 11 Case, the DIP Priming

Loan represents a proper exercise of the Debtor’s business judgment. As noted above, bankruptcy

courts routinely defer to a debtor’s business judgment on most business decisions, including

decisions about whether and how to borrow money. See, e.g., In re Integrated Res., Inc., 147 B.R.

650, 656 (S.D.N.Y. 1992) (“Parties opposing the proposed exercise of a debtor’s business

judgment have the burden of rebutting the presumption of validity”) (citing Aronson v. Lewis, 473

A.2d 805, 812 (Del. 1984)); In re Garrett Motion Inc., No. 20-12212 (Bankr. S.D.N.Y. October

23, 2020) (approving post-petition financing as “a sound and prudent exercise of the Debtors’

business judgment”); In re Metaldyne Corp., 409 B.R. 661, 667–68 (Bankr. S.D.N.Y. 2009)

(noting “decisions in [the Southern District of New York] emphasizing that [bankruptcy courts]

should not substitute [their] business judgment for that of the Debtors’”) (citations omitted), aff’d

421 B.R. 620 (S.D.N.Y. 2009); In re Ames Dep’t Stores, Inc., 115 B.R. at 40 (“More exacting

scrutiny would slow the administration of the debtor’s estate and increase its cost, interfere with

the Bankruptcy Code’s provision for private control of administration of the estate, and threaten

the court’s ability to control a case impartially.”); In re Simasko Prod. Co., 47 B.R. 444, 449 (D.

Colo. 1985) (“Business judgments should be left to the board room and not to this Court.”); In re

Lifeguard Indus., Inc., 37 B.R. 3, 17 (Bankr. S.D. Ohio 1983) (same). “More exacting scrutiny

would slow the administration of the debtor’s estate and increase its costs, interfere with the

Bankruptcy Code’s provision for private control of administration of the estate, and threaten the


                                                   14
24-11463-pb      Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01            Main Document
                                         Pg 15 of 28



court’s ability to control a case impartially.” Richmond Leasing Co. v. Capital Bank. N.A., 762

F.2d 1303, 1311 (5th Cir. 1985).

       42.     Specifically, when evaluating whether a debtor’s decision to obtain post-petition

financing was an exercise of sound business judgment, courts need only “examine whether a

reasonable business person would make a similar decision under similar circumstances.” In re

Dura Auto. Sys., Inc., 2007 WL 7728109, at *97 (Bankr. D. Del. Aug. 15, 2007) (quoting In re

Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006)). When evaluating whether a debtor’s

decision to enter into post-petition financing was an exercise of sound business judgment,

bankruptcy courts consider the terms of the financing in light of the debtor’s circumstances and

the market for financing more generally. See In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr.

W.D. Mo. 2003); see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank &

Trust Co. (In re Ellingsen McLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986)

(recognizing a debtor may have to enter into “hard bargains” to acquire funds for its

reorganization). In general, a bankruptcy court should defer to a debtor’s business judgment

regarding the need for and the proposed use of funds, unless such decision is arbitrary and

capricious. In re Curlew Valley Assoc., 14 B.R. 506, 511-13 (Bankr. D. Utah 1981). Courts

generally will not second-guess a debtor’s business decisions when those decisions involve “a

business judgment made in good faith, upon a reasonable basis, and within the scope of [its]

authority under the Code.” Id. at 513-14 (footnotes omitted).

       43.     Prevailing market conditions are also highly relevant to a court’s evaluation of a

debtor’s business judgment regarding their DIP financing. See Hr’g Tr. at 734 35:24, In re

Lyondell Chem. Co., Case No. 09-10023 (Bankr. S.D.N.Y. March 5, 2009) (recognizing “the terms

that are now available for DIP Financing in the current economic environment aren’t as desirable”



                                                15
24-11463-pb          Doc 71    Filed 02/04/25 Entered 02/04/25 16:17:01         Main Document
                                            Pg 16 of 28



as in the past). Accordingly, the Debtor submits that the proposed DIP Priming Loan should be

approved as a sound exercise of their business judgment.

          44.      Developers generally are facing various challenges related to inflation and

macroeconomic headwinds. Despite this economic environment, the Debtor has successfully

negotiated financing that provides ample liquidity, attractive pricing, flexible budget covenants,

and a path to reorganization which will allow the Debtor sufficient funds and time to complete and

sell the Penthouse Units and to sell the Apartment Units, as well as to pay condo charges,

professional fees, and real estate and other taxes. The amounts to be made available comport with

the construction timeline and the requirements of the AIA. The Debtor has exercised sound

business judgment in determining that a post-petition loan to complete the Penthouse Units is both

necessary and appropriate and has satisfied the legal prerequisites to borrow under the DIP Priming

Loan. The terms of the DIP Priming Loan are fair and reasonable and are in the best interests of

the Debtor’s estate. Accordingly, the Debtor should be granted authority to enter into the DIP

Priming Loan and borrow funds from the DIP Lender on the terms set forth in the DIP

Commitment Letter, with the total DIP Priming Loan to be secured with a first priority mortgage

on the DIP Collateral. Without the DIP Priming Loan, the Debtor will be unable to proceed in this

case with the completion and preservation of the Property. The Debtor has exercised its best

judgment in negotiating the DIP Priming Loan that is presently before the Court.

   III.         The Debtor Has Meet the Conditions Necessary Under Sections 364(c) and (d)(1)
                to Obtain Postpetition Financing on a Senior Secured and Superpriority Basis.

          45.      The Debtor proposes to obtain financing under the DIP Priming Loan by providing

superpriority claims and liens pursuant to sections 364(c) and 364(d)(1) of the Bankruptcy Code.

The Debtor proposes to provide the DIP Lender with liens on and security interests in the DIP

Collateral, including priming liens on certain of the Prepetition Collateral.


                                                  16
24-11463-pb         Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01           Main Document
                                            Pg 17 of 28



         46.      In evaluating proposed post-petition financing under sections 364(c) and 364(d)(1)

of the Bankruptcy Code, courts act in their “informed discretion.” In re Ames Dep’t Stores, 115

B.R. at 37. Courts perform a qualitative analysis and consider factors including whether (a) the

debtor made a reasonable effort to find financing with better terms, (b) the financing is necessary

to preserve assets of the estate, and (c) the terms of the credit agreement are fair, reasonable, and

adequate. In re Republic Airways Holdings Inc., 2016 WL 2616717, at *11 (Bankr. S.D.N.Y. May

4, 2016).

   IV.         The Debtor Is Unable to Obtain Financing on More Favorable Terms Than the
               DIP Facility.

         47.      Debtors need to demonstrate that they made a reasonable effort to find alternative

financing before a bankruptcy court will order superpriority liens. In re Latam Airlines Grp. S.A.,

2020 WL 5506407, at *26 (Bankr. S.D.N.Y. Sept. 10, 2020). But, the Bankruptcy Code “imposes

no duty [on a debtor] to seek credit from every possible lender before concluding that such credit

is unavailable.” Id. (citing Bray v. Shenandoah Fed. Savs. & Loan Ass'n (In re Snowshoe Co.),

789 F.2d 1085, 1088 (4th Cir. 1986)); In re Pearl-Phil GMT (Far East) Ltd. v. Caldor Corp., 266

B.R. 575, 584−85 (S.D.N.Y. 2001) (superpriority administrative expenses authorized where debtor

could not obtain credit as an administrative expense); In re Ames Dep’t Stores, Inc., 115 B.R. at

40 (approving financing facility and holding that debtor made reasonable efforts to satisfy the

standards of section 364(c) to obtain superior terms after discussing possible post-petition

financing with four lenders); In re Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996).

         48.      Moreover, when only a few lenders likely can or will extend the necessary credit to

a debtor, “it would be unrealistic and unnecessary to require [the debtor] to conduct such an

exhaustive search for financing.” In re Sky Valley, Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988),

aff’d sub nom. Anchor Sav. Bank FSB v. Sky Valley, Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989).


                                                  17
24-11463-pb       Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01             Main Document
                                          Pg 18 of 28



       49.     Here, the Debtor does not believe that comparable alternative sources of financing

are reasonably available on similar pricing given the realities imposed by the Debtor’s existing

capital. The Debtor conducted extensive, arm’s-length negotiations with the DIP Lender regarding

the terms of the DIP Facility. Through these negotiations, the Debtor improved the economic and

other terms of the DIP Priming Loan, which is the best financing proposal reasonably available

under the circumstances.

       50.     As will be shown at the hearing, a facility of the type needed in this case could not

have been obtained on an unsecured basis or on a secured basis without the imposition of a priming

lien. Alternative sources of proposed DIP financing for the Debtor are extremely limited. None of

the alternative potential sources of post-petition financing proposed a facility that would meet the

Debtor’s requirements or that were on better pricing terms. Moreover, most financing required

priming liens on all of the Prepetition Collateral. In these circumstances, “[t]he statute imposes no

duty to seek credit from every possible lender before concluding that such credit is unavailable.”

In re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir. 1986).

       51.     A debtor need only demonstrate “by a good faith effort that credit was not available

without” the protections of Section 364(c) and (d). Id.; see also In re Plabell Rubber Prods., Inc.,

137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). Where there are few lenders likely to be able and

willing to extend the necessary credit to the debtor, “it would be unrealistic and unnecessary to

require [the debtor] to conduct an exhaustive search for financing.” In re Sky Valley, Inc., 100

B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d, 99 B.R. 117 (N.D. Ga. 1989). The Debtor submits

that due to its current capital structure, that alternative credit on more favorable terms is

unavailable to the Debtor.




                                                 18
    24-11463-pb       Doc 71      Filed 02/04/25 Entered 02/04/25 16:17:01                  Main Document
                                               Pg 19 of 28



           52.      Further, the Property, which is the Debtor’s only asset, is currently worth

approximately $57.2 million. See Appraisals attached as Exhibits D-1 and D-2. Palm Avenue, the

Debtor’s only secured creditor, holds a claim in the approximate amount of $65 million (which

claim will purportedly increase with the calculation of default interest). 2 However, the Debtor

projects that, with the infusion of the DIP Priming Loan of $22,000,000, which will enable to the

Penthouses to be fully built-out, the Property’s value will ultimately increase by approximately

$42.4 million, for a total aggregate value of $101.6 million (see Exhibit D-1 at p. 3).

           53.      The DIP Priming Loan will therefore result in a creation of an additional equity

cushion to Palm Avenue, while also retaining important liens, thereby satisfying the requirements

of Section 364(d) as discussed below.

           54.      In sum, the DIP Priming Loan represents the Debtor’s best available postpetition

financing option.

      V.         The Terms of the DIP Priming Loan Are Fair, Reasonable, and Adequate under
                 the Circumstances.

           55.      In considering whether the terms of postpetition financing are fair and reasonable,

courts consider the terms in light of the relative circumstances of both the debtor and the potential

lender. See In re Farmland Indus., Inc., 294 B.R. at 886; see also In re Ellingsen MacLean Oil Co.,

65 B.R. at 365. The appropriateness of a proposed financing facility should also be considered in

light of current market conditions. See In re Lyondell Chem. Co., No. 09-10023 (REG) (Bankr.

S.D.N.Y. Feb. 27, 2009), Hr’g Tr. 740:4-6 (“[B]y reason of present market conditions, as

disappointing as the [DIP] pricing terms are, I find the provisions [of the DIP] reasonable here and

now.”). Here, the terms of the DIP Priming Loan are fair, appropriate, reasonable, adequate under

the circumstances, and in the best interests of the Debtor, its estate, and its creditors.


2
      As noted above, the Debtor disputes the amount claimed to be outstanding by Palm Avenue.

                                                        19
24-11463-pb         Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01             Main Document
                                            Pg 20 of 28



         56.      As noted above, the terms of the DIP Priming Loan were actively negotiated by the

Debtor. Under the current circumstances, the pricing, fees, and other economics provided for in

the DIP Priming Loan, taken as a whole, are reasonable and in the Debtor’s best interests, and

present the best terms available.

         57.      No party in interest can seriously contend that the Debtor does not need immediate

access to funds to complete the Penthouse Units and sell the Apartment Units. The Debtor has no

funds, no income. Accordingly, access to credit is necessary to meet the needs associated with

preserving and improving the Property. Access to sufficient credit is therefore critical to the

Debtor. In the absence of immediate access to credit, the Debtor will not be able to effectively

prepare the units in the Property for sale. The inability of the Debtor to meet these obligations may

negatively impact the results of the Chapter 11 Case.

         58.      Moreover, the amounts to be provided under the DIP Priming Loan comport with

the amounts needed pursuant to the AIA to complete the Penthouse Units, pay professionals, condo

charges, and taxes and other charges, and will allow for work on the Penthouse Unites to be

completed on the timeline and in accordance with the budget attached hereto.

         59.      For these reasons, access to credit under the DIP Priming Loan is critical. The

Debtor’s need for access to the DIP Priming Loan therefore is immediate.

   VI.         The DIP Lender Should Be Deemed a Good Faith Lender Under Section 364(e).

         60.      Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to collect

on loans extended to a debtor, and its right in any lien securing those loans, even if the authority

of the debtor to obtain such loans or to grant such liens is later reversed or modified on appeal.

Section 364(e) provides that: The reversal or modification on appeal of an authorization under this

section [364 of the Bankruptcy Code] to obtain credit or incur debt, or of a grant under this section



                                                   20
24-11463-pb        Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01               Main Document
                                           Pg 21 of 28



of a priority or a lien, does not affect the validity of any debt so incurred, or any priority or lien so

granted, to an entity that extended such credit in good faith, whether or not such entity knew of the

pendency of the appeal, unless such authorization and the incurring of such debt, or the granting

of such priority or lien, were stayed pending appeal. 11 U.S.C. § 364(e).

        61.     Here, the Debtor believes the DIP Priming Loan embodies the most favorable terms

on which the Debtor could obtain postpetition financing. As described in the Goldwasser

Declaration, the negotiations of the terms of the DIP Priming Loan with the DIP Lender were

conducted at arms’ length. Under the circumstances, the terms and conditions of the DIP Priming

Loan are reasonable, and the proceeds of the DIP Priming Loan will be used only for purposes that

are permissible under the Bankruptcy Code, in accordance with the DIP Priming Order and the

DIP Commitment Letter and in accordance with the Budget. Accordingly, the Court should find

that the DIP Lender is a “good faith” lender within the meaning of section 364(e) of the Bankruptcy

Code and that the DIP Lender is thus entitled to all of the protections afforded by that section.

        62.     As demonstrated by the Appraisals (attached as Exhibits D-1 and D-2), the

Property, through the use of the proceeds of the DIP Priming Loan, is expected to increase in value

by approximately $42.4 million, for a total aggregate value of $101.6 million, whereas the DIP

Priming Loan amount is a maximum of $22 million.

        63.     In this instance, the DIP Priming Loan will enable the Debtor to complete the

Penthouse Units in line with the AIA, sell the remaining Apartment Units, and pursue a consensual

plan of reorganization, rather than face the prospect of an immediate, disorganized, and value-

destructive liquidation.

        64.     Since the completion of the Penthouse Units will increase the value of the Property

far in excess of the amount of the DIP Priming Loan, no parties will be prejudiced by this



                                                   21
24-11463-pb       Doc 71      Filed 02/04/25 Entered 02/04/25 16:17:01           Main Document
                                           Pg 22 of 28



arrangement. The Debtor submits that proposed DIP Priming Loan reflects the exercise of sound

and prudent business judgment. The Debtor would not have been able to obtain financing on an

unsecured basis or otherwise, and the prospect of the DIP Lender’s provision of financing provides

the Debtor with assurance that it will be able to effectively and expeditiously reorganize in a

manner that will be in the best interest of the Debtor’s estate and its creditors. In the Debtor’s

business judgment, the DIP Priming Loan is the best financing option available under the

circumstances in this case.

       65.     The proposed terms of the DIP Priming Loan are fair, reasonable, and adequate in

that these terms neither: (a) tilt the conduct of this case and prejudice the powers and rights that

the Bankruptcy Code confers for the benefit of all creditors, nor (b) prevent motions by parties in

interest from being decided on their merits. The purpose of the DIP Priming Loan is to enable the

Debtor to meet ongoing expenses needed to complete and sell the Penthouse Units, prepare the

Apartment Units at the Property for sale, and pay the other ongoing costs of the Chapter 11 case.

       66.     The terms and conditions of the DIP Priming Loan are fair and reasonable and were

negotiated by the parties in good faith and at arm’s length. Accordingly, the DIP Priming Loan

should be accorded the benefits of Section 364(e) of the Bankruptcy Code in respect of such

agreement.

   VIII. The Debtor Should Be Authorized to Pay the Fees and Premiums Required by the
         DIP Lender Under the DIP Facility.

       67.     In consideration for their commitment to provide the DIP Facility, the Debtor has

agreed, subject to Court approval, to an origination fee of three percent (3%) of the amount of the

DIP Priming Loan.

       68.     In light of the substantial amount of capital that the DIP Lender has committed to

provide to ensure an efficient and value-maximizing chapter 11 process, the Debtor believes that

                                                22
24-11463-pb         Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01            Main Document
                                            Pg 23 of 28



the consideration being provided to the DIP Lender, taken as a whole, in exchange for providing

such commitment, is reasonable under the circumstances and necessary to obtain the DIP Priming

Loan. Accordingly, the Court should authorize the Debtor to pay the fees and premiums provided

under the DIP Commitment Letter in connection with entering into the DIP Financing.

   IX.         The Automatic Stay Should Be Modified on a Limited Basis.

         69.      The DIP Priming Order contemplates modification of the automatic stay to permit

the Debtor and the DIP Lender to implement and effectuate the terms and provisions of the DIP

Priming Documents, the DIP Priming Order and the DIP Facility.

         70.      The Debtor believes that these provisions were required for the Debtor to obtain the

DIP Priming Loan as provided in the DIP Priming Order. Moreover, following the delivery of such

notice, the DIP Lender may file a Stay Relief Motion seeking emergency relief from the automatic

stay and until such time as the Stay Relief Motion has been adjudicated by the Court, the Debtor

may use the proceeds of the DIP Priming Loan (to the extent drawn prior to the occurrence of

Event of Default) to fund operations in accordance with the Budget.

         71.      In the Debtor’s business judgment, the stay modifications are reasonable and fair

under the circumstances of this Chapter 11 Case.

                                               NOTICE

         72.      Pursuant to Sections 102(1), 363(c), and 364 of the Bankruptcy Code and

Bankruptcy Rules 4001(b) and (c), notice of this Motion has been provided via regular mail to:

(i) Palm Avenue, (ii) the Debtor’s 20 largest unsecured creditors, (iii) the United States Trustee,

and (iv) all parties having filed notices of appearance.

                                   RESERVATION OF RIGHTS




                                                   23
24-11463-pb        Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01               Main Document
                                           Pg 24 of 28



        73.     Nothing contained herein or any actions taken pursuant to such relief requested is

intended or shall be construed as: (a) an admission as to the amount of, basis for, or validity of any

claim against the Debtor entity under the Bankruptcy Code or other applicable non-bankruptcy

law; (b) a waiver of the Debtor’s or any other party in interest’s right to dispute any claim on any

grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Motion or any order granting the relief

requested by this Motion or a finding that any particular claim is an administrative expense claim

or other priority claim; (e) a request or authorization to assume, adopt, or reject any agreement,

contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the

validity, priority, enforceability, or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtor’s estate; (g) a waiver or limitation of the Debtor’s, or any

other party in interest’s, rights under the Bankruptcy Code or any other applicable law; or (h) a

concession by the Debtor that any liens (contractual, common law, statutory, or otherwise) that

may be satisfied pursuant to the relief requested in this Motion are valid, and the rights of all parties

in interest are expressly reserved to contest the extent, validity, or perfection or seek avoidance of

all such liens. If the Court grants the relief sought herein, any payment made pursuant to the

Court’s order is not intended and should not be construed as an admission as to the validity of any

particular claim or a waiver of the Debtor’s or any other party in interest’s rights to subsequently

dispute such claim.

     COMPLIANCE WITH RULE 4001-2 OF THE LOCAL BANKRUPTCY RULES

        74.     Rule 4001-2 of the SDNY Local Bankruptcy Rules requires that certain provisions

contained in DIP Priming Loan be highlighted, and that the debtor must provide justification for

the inclusion of such highlighted provision(s). The Debtor believes that certain provisions of Local



                                                   24
24-11463-pb      Doc 71      Filed 02/04/25 Entered 02/04/25 16:17:01              Main Document
                                          Pg 25 of 28



Rule 4001-2 are implicated, but that this Motion provides adequate disclosure regarding such

provisions. The Debtor has set forth each of the sub-sections of Rule 4001-2 of the Local Rules

and have detailed whether this Motion contains or contemplates provisions which would fall within

the ambit thereof:

   •   Local Rule 4001-2(a)(1): This Motion and the Budgets annexed hereto set forth the amount

       of DIP funding the Debtor seeks to use.

   •   Local Rule 4001-2(a)(2): This Motion provides that the Debtor may use the DIP Priming

       Loan proceeds in accordance with the Budgets.

   •   Local Rule 4001-2(a)(3): This Motion and the DIP Commitment Letter set out the fees to

       be incurred in connection with the making of the DIP Priming Loan.

   •   Local Rule 4001-2(a)(4): This Motion describes the effects on existing liens of the granting

       of the DIP Priming Liens and DIP Superpriority Claims being provided to the DIP Lender.

   •   Local Rule 4001-2(a)(5): The DIP Commitment Letter does not contain any carve-outs.

   •   Local Rule 4001-2(a)(6): There are no cross-collateralization provisions, which elevate

       prepetition debt to administrative expense (or higher) status. This Motion provides that the

       DIP Lender shall receive a post-petition lien on the DIP Collateral to the extent of the

       advances made under the DIP Priming Loan only.

   •   Local Rule 4001-2(a)(7): The Debtor is not seeking approval of any roll-up provisions.

   •   Local Rule 4001-2(a)(8): The Debtor does not believe it is seeking approval of any

       provision that would limit the Court’s power or discretion in a material way, or that would

       interfere with the exercise of the Debtor’s fiduciary duties, or restrict the rights and powers,

       of the Debtor, or any committee or other fiduciary.




                                                 25
24-11463-pb     Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01           Main Document
                                        Pg 26 of 28



  •   Local Rule 4001-2(a)(9): The Debtor is not seeking approval of any limitation on the DIP

      Lender’s ability to fund certain activities of the Debtor or any committee appointed under

      sections 1102 or 1114 of the Bankruptcy Code except to the extent set forth in the Budgets.

  •   Local Rule 4001-2(a)(10): The default provisions under the DIP Priming Loan are

      described in the Motion and the DIP Commitment Letter.



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                                              26
24-11463-pb       Doc 71     Filed 02/04/25 Entered 02/04/25 16:17:01             Main Document
                                          Pg 27 of 28



       WHEREFORE, the Debtor respectfully requests that the Court enter the DIP Priming

Order and grant the Debtor such other and further relief as is just and proper.

Dated: White Plains, New York                        DAVIDOFF HUTCHER & CITRON LLP
       February 4, 2025


                                                     By:     /s/ Jonathan S. Pasternak
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                                                             Attorneys for the Debtor




Exhibits

Exhibit A – DIP Commitment Letter and Budget
Exhibit B – AIA
Exhibit C – Construction Budget and Timeline
Exhibits D-1 and D-2 – Appraisals
Exhibit E – Proposed DIP Priming Order
Exhibit F – Goldwasser Declaration




                                                27
24-11463-pb   Doc 71   Filed 02/04/25 Entered 02/04/25 16:17:01   Main Document
                                    Pg 28 of 28
